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                              EXHIBIT 1
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                                 DECLARATION OF JOHN DOE 1

   I, John Doe 1, declare and state the following:

       1. I am 17 years old. I was born in Tamaulipas, Mexico.

      2. I came to the United States right after I turned 15. I believe it was in August.

      3. J was taken into custody by immigration authorities as soon as I crossed the border. I was

          sent to BCFS in San Antonio, Texas, and I stayed there for a few months until I was

          transferred to Mercy First, a treatment center in New York, for psychological issues.

      4. After a short time in New York, I was transferred to NOV A, a staff secure facility in

          Virginia. Then I was sent to Shenandoah.

      5. I was detained at Shenandoah for over a year and a half, from April 2016 to December

          2017.

      6. I have been diagnosed with depression and other disorders, and I take medications for

          them. I think they increased the dosage of my depression medication when I came to

          Shenandoah. At first it made my symptoms worse, and I didn ' t feel like getting out of

          bed or doing anything, but then I got used to it.

      7. For most of my time at Shenandoah, I was placed in Alpha Pod. It is for kids who have

          misbehaved.

      8. We would get points awarded for good behavior and points taken away for bad behavior.

          If you had all of your points at the end of the week, you could buy things like toothpaste

          and soap. I regularly got points taken away for things like not wanting to work on the

          mural in art class, complaining about a headache, or thrnwing a ball that hit the ceiling in

          the gym.

      9. At Shenandoah, my room had a mattress, a sink, and a toilet. There is no wall or divider
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        in the room, and the staff could see into the rooms through a window in the door. The kids

        would sometimes put a piece of paper over this window so people couldn ' t see them using

        the toilet, but the staff would remove it. One time a staff member stood at my doorway

        and watched me use the bathroom.

     10. While I was at Shenandoah, staff members would make fun of me on a daily basis. They

        would call me names such as "pendejo" and "onion head," and do things like drop my clean

        towel on the dirty floor in front of me. They were always trying to provoke me.

     11. I once becan1e so frustrated by a staff member's repeated mocking that I pushed the staff

        member. In response, four staff members shoved me to the floor and piled on top of me,

        and they began hitting me in my abdomen with their elbows. I had a lot bruises from this.

     12. There are American and Latino kids at Shenandoah. The Latino kids are treated differently

        than the American kids.

     13. Staff frequently refused to allow us to watch Spanish shows on the TV in our pods. They

        would tell us they didn ' t care what we wanted and didn't care that we were Latino.

     14. On one occasion, I got into a fight with one of the American kids after he had taunted me

        and told me that he " hates Latinos' . When staff broke up the fight, I was grabbed and

        thrown forcefully to the ground, but the other kid was just held by the arms and pulled

        away. I was then restrained, tied to a chair, and hit several times by staff members while I

        was tied to the chair. I was left tied to the chair in my room for four hours.

     15. They tied me to a chair about five times while I was at Shenandoah. My hands, legs and

        chest were tied to the chair. On some occasions they put something over my head. It had

        small holes that I could see out of, but only a little.

     16. I was assaulted by Shenandoah staff on many occasions while I was detained there, and



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        several times while I was tied to a chair. On one occasion, I was hit in the face and

        scratched by a staff member whi le I was restrained. I developed a black eye and bruising

        from this.

     17. On another occasion, I asked to come inside during gym because I had a headache. Staff

        suspected for no apparent reason, that I may have found a piece of glass outside. I was

        thrown to the ground and searched, and my clothes were slu·edded. Though they found

        nothing, staff transfened me to Alpha Pod after this incident.

     18. I saw other kids being hit by staff too. I once tried to defend another kid when a staff

        member was hitting him. As a result, the other kid and I were both stabbed by the staff

        member with a pen.

     19. Another time, a staff member entered my room when I didn't want him to and provoked a

        fight. The staff member hit me, and I bit the staff member. Thereafter, the staff member

        beat me, leaving me with bruises on my neck and arms. A supervisor took photographs of

        my injuries. I have asked for these photos repeatedly, but staff members have never given

        them to me.

     20. After this incident, I was placed in cha-chas (handcuffs) . I was forced to wear handcuffs

        on my wrists and shackles on my feet for approximately 10 days in a row. During this

        time, the handcuffs were only removed when I was sleeping or eating alone in my room.

     21. The handcuffs are very tight, and they often left bruises and cuts on my wrists after they

        were taken off. I complained about this and showed my injuries to the staff, but they took

        no action.

     22. At Shenandoah, I was also placed on restriction a lot. This happened whenever kids would

        act out or hit the staff, or if they hurt themselves. When you are restricted, you ar·e largely



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         in your room and you can't leave. When you are outside yom room, staff place you in

         handcuffs. I have been restricted in my room for several days at a time. I was only allowed

         to leave my room for classes.

     23 . Soon after I arrived at Shenandoah, I began to hurt myself. I would cut my wrists with a

         piece of glass or plastic whatever I could find. I would sometimes bang my head against

         the wall or the floor because I was angry and sad.

     24. Staff members saw the scars on my wrists and knew I was hurting myself. They told me

         they didn ' t care. Sometimes I would lose points or be placed on restriction for hurting

         myself.

     25. One time I cut myself after 1 had gotten into a fight with staff. 1 filled the room with blood.

         This happened on a Friday, but it wasn't until Monday that they gave me a bandage or

         medicine for the pain.

     26. I had never cut myself before I came to the United States. I learned this from other kids

         while I was detained.

     27. On August 21, 2017, I tried to kill myself. I tied part of a curtain around my throat. Staff

        found me, and they responded by taking away all of my clothes and placing me on

        restriction for several days.

     28. I was angry that I was at Shenandoah for so long, and I didn' t want to be there anymore. l

        would thrnw food down the toilet because I couldn't eat it. I would feel sick and dizzy.

     29. I had the urge to cut myself frequently, and expressed a desire to kill myself.

     30. In December 2017, I was transferred back to NOVA. It's better here. I don't know how

        long I will be here or whether I will be transferred back to Shenandoah.




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      31. This statement has been prepared in English but it bas been read to me in Spanish by a

          bilingual interpreter.

      32. I declare, under penalty of perjury, that all the information I have provided here is true

          and con-ect to the best of my knowledge, and I am aware of the legal consequences of

          making a false declaration.




   Executed this 17th day of January, 2018, in Alexandria, Virginia




                                                                        John Doe 1




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